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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,                        )
                                                  )
                         Plaintiff,               )
                                                  )
        vs.                                       )
                                                  )                     8:08CR439
 ANTWAN L. WRIGHT,                                )
 LEONARD C. JONES,                                )                       ORDER
 RAY S. THOMAS,                                   )
 JOSEPH T. JORDAN, and                            )
 FREDERICK R. CROFFER,                            )
                                                  )
                         Defendants.              )


        This matter is before the court on the government's Motion for Rule 17.1 Pretrial
 Conference and to consolidate this and 11 related cases for pretrial proceedings.
 Response time has passed, and no party in this or any of the related cases has filed a
 response or objection.
        The court finds that the following cases should be consolidated for purposes of
 pretrial proceedings:


8:08cr438   Torone Russell            8:08cr440   Tabatha A. Veasley    8:08cr445   Shelly M. Jones
            Talanda N. Penn
            Arthur L. Johnson         8:08cr441   W illie B. Haynes     8:08cr446   Bryant D. Finney

8:08cr439   Antwan L. W right         8:08cr442   Donnell Chaney        8:08cr447   Am ber J. Johns
            Leonard C. Jones
            Ray S. Thom as            8:08cr443   Cornell Hill          8:08cr448   Richard E. W right, Jr.
            Joseph T. Jordan
            Frederick R. Croffer      8:08cr444   Charles E. Nelson     8:08cr449   Jerem y Nance



        The court further finds that the deadline for filing substantive pretrial motions should
 be extended to February 23, 2009, as to all of the parties listed above.1



        1
        The parties who previously filed motions for an extension of the pretrial motion
 deadline were granted extensions to February 23, 2009.
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       IT IS ORDERED that the government's Motion for a Rule 17.1 pretrial conference
and to consolidate related cases for pretrial proceedings is granted, in part, as follows:
       1. Cases Nos. 8:08cr438, 8:08cr439, 8:08cr440, 8:08cr441, 8:08cr442, 8:08cr443,
8:08cr444, 8:08cr445, 8:08cr446, 8:08cr447, 8:08cr448, and 8:08cr449 are hereby
consolidated for purposes of scheduling and pretrial proceedings.
       2. The deadline for filing substantive pretrial motions is extended to February 23,
2009, as to all the defendants in Cases Nos. 8:08cr438, 8:08cr439, 8:08cr440, 8:08cr441,
8:08cr442, 8:08cr443, 8:08cr444, 8:08cr445, 8:08cr446, 8:08cr447, 8:08cr448, and
8:08cr449.
       3. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between today's date and February 23, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).
       4. The request for a Rule 17.1 conference is denied without prejudice to re-filing
after February 23, 2009.


       DATED February 2, 2009.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge




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